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         YOU HAY2 BEEN SUED ,                .... .                                                                .
         Attached to this Citation is s certified copy of the Petition,
                                                                        -*                                    The
         petition tells you what you are being sued -far;

         You must EITHER do what the petition asks, OR,                              within FIFTEEN {15}               days
         after you have received these documents,                            you must       file an answer or other
         legs! pleadings in the Office of the -Clerk of this Court
                                                                   at the Caddo
         Parish Court Mouse ,             503 Texas street *              Room 10$, Sbrevepbrt^'iouisinnm,

         If you do not do what the petition asks,                            or if you do not file an answer
         or legal pleading           within FIFTEEN               ( 151   days,   a judgment may he entered
         against you without further notice-,                                           *                      '        '
         This ci ration       was    issued by the Clerk c
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         *A1 so attached are the following:
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         These documents mean you have been sued. Legal assistanc
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         go to www, ghx-evepartbar.com and click on the Lawyer
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         or go to the Shrevepokt Mar Cm.iter oh the:, third Monday
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         5:30 - 7:30 for a free seminar. If' -eligible, you -may
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         assistance at no cost to you through Segal Seryibm p£ North-
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          MGitoN           iEBLANC      AND        M<3A            €A»0?^Itl^UiSIANA
          INSURANCE         COMPANY,        INC    AND
      "   STATE FARM MUTUAL AUTOMOBILE
          INSURANCE COMPANY'                       " "

                                       Petition ForDawmtes

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                                                                             Bossier City, Louisiana fllli
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    Case 5:17-cv-01171-RGJ-MLH Document 1-5 Filed 09/14/17 Page 13 of 15 PageID #: 28




                           URSULA DAVIS                                           NUMBER;                 SECTION;

=
                           VERSUS                                                  FIRST JUDICIAL DISTRICT COURT

                           MORGAN           LEBLANC        AND      MEM            CADDO PARISH, LOUISIANA
                           INSURANCE COMPANY, INC. AND
                           STATE FARM: MUTUAL AUTOMOBILE
                           INSURANCE COMPANY

                                                                                  .SSION

                                  NOW' INTO COURT, tlvom^ TOaersIgnrf counsel, comes mi appears URSULA DAVES,

                           who for the purpose of propounding to STATE FARM MUTUAL AUTOMOBILE INSURANCE

               ,           COMPANY the following request for admission of facts, Petitioner requests that fife Defendant

                           admit or dcay ihe truth of the following facts within fifteen (1 5) days- after receipt of the request;

                            .El   EST FOR ADMISSION OFFACT NUMBER I :

                                   Admit that oa-Stiptember 2, 2-91 6, URSULA DAVIS was lavoNed in anautomoMleaecMeat

           .               on Mansfield Koaditi Shreveport, Lonistaa with the vehicle fe'siby MORGAN LEBLAMC,

               *           REfflgSTFOR ADMISSION OF FAETHUMffiBJ;
                                   Admit that aa September 2, 29 1 6, STATBFARM MUTUAL AUTOMOBILE:INS1IRAMCE



                           REQUEST FOR ADMISSION OF FACT NUMBER 3:

                   .               Adimt'tWt on September % 2916, the vehicle driven by MORGAN LEBLANC strnek the

                           rear of the vehicle drives by URSULA DAVIS..

               :           REQUEST FOR ADMISSION Of PACT NUMBER 4;
                                   That ob September % 2916, MORGAN LEBLANC was an tindeiinsured driver,

                           REQUEST FOR ADMISSION OF FACT NUMBER S: .

                                   That MORGAN LBBLANOs actions were- the sole cause of the accident ftom which shis

                   s       lawsuit arose.




                                                                                                         m            v~
                                                                                            LoptsiafiaBar# 17626       "w"
                                                                                            Christopher C, Brouglitqit
                                                                                            Ltvaisiaaa Bar #3041 3
                                                                                           1503 Doctors Drive
                                                                                           Bossier City, Louisiana 711 1 1
                                                                                           TeJeptatti     (318) 742-1000
                                                                                            FassMe:          (318)747-1499



                       *   PLEASE SERVE WITH THE PETITION




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          WSGLA»A¥IS-                                           NUMBER:

      ^   VERSUS.                                               |®STPD|fWL DISTRICT COPKT ;

          HOROAS            tEBLASC:. AND: «<3A,                CADDO PARISH, LOUISIANA                            T~

          MSURANCE : ' OOMEANY^ INC. At®
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                                           Order or Judgment h said cause as provided by the Louisiana Code

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                                                                       Loulsiera Bar# 17626
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                                                                       Louisiana Bar# 30413
                                                                       1 503 Doctors Drive        ... .     .. ,
                                                                       Bossier €%, t wislraa: 7111 1
                                                                       Telephone:    (318) 742-1000
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